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                                                        United States District Court
                                                        Central District of California


                                                                                                                                               JS-3

 UNITED STATES OF AMERICA vs.                                                Docket No.            SA CR 18-168-JFW

 Defendant      1. Candice Rodriguez [77089-112]                    Social Security No. 7                  2   0   4    (last 4 digits
 (akas: Candi Rodriguez; Candi Mildred Rodriguez; Candy Rodriguez;
 Candida Rogriges; Candida M. Rodriguez; Candida Mildret Rodriguez;
 Candida M. Rodriguez Renteria


                                                                                                                   Month             Day       Year
     In the presence of the attorney for the government, the defendant appeared in person on this date.                October           19     2020


     COUNSEL         1. Erica Choi, DFPD
                     (Name of Counsel)

      PLEA           x GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                     NOT
                                                                                                               CONTENDERE                 GUILTY
     FINDING         There being a finding of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Bank Fraud in violation of 18 U.S.C. § 1344(2) as charged in Count 4 of the Six-Count Indictment filed
                     on August 8, 2018

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/            sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty
  COMM
  ORDER
                     as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is the
                     judgment of the Court that the defendant, Candice Rodriguez, is hereby placed on probation on
                     Count 4 of the Indictment for a term of 18 months under the following terms and conditions:

1.        The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
          Office and Amended General Order 20-04, including the conditions of probation and supervised release set
          forth in Section III of Amended General Order 20-04.

2.        During the period of community supervision, the defendant shall pay the special assessment and restitution in
          accordance with this judgment's orders pertaining to such payment.

3.        The defendant shall cooperate in the collection of a DNA sample from the defendant.

4.        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
          drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed
          eight tests per month, as directed by the Probation Officer.

5.        The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
          urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from
          using alcohol and illicit drugs, and from abusing prescription medications during the period of supervision.

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6.       During the course of supervision, the Probation Officer, with the agreement of the defendant and defense
         counsel, may place the defendant in a residential drug treatment program approved by the U.S. Probation and
         Pretrial Services Office for treatment of narcotic addiction or drug dependency, which may include counseling
         and testing, to determine if the defendant has reverted to the use of drugs. The defendant shall reside in the
         treatment program until discharged by the Program Director and Probation Officer.

7.       The defendant shall participate in mental health treatment, which may include evaluation and counseling, until
         discharged from the program by the treatment provider, with the approval of the Probation Officer.

8.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
         treatment to the aftercare contractors during the period of community supervision. The defendant shall provide
         payment and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no
         payment shall be required.

9.       When not employed or excused by the Probation Officer for schooling, training, or other acceptable reasons, the
         defendant shall perform 20 hours of community service per week as directed by the Probation Officer.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.
Any unpaid balance shall be due during the period of probation.

It is ordered that the defendant shall pay restitution in the total amount of $400 pursuant to 18 U.S.C. § 3663A.

The amount of restitution ordered shall be paid as follows:

         Victim                  Amount

         C.O.                    $400

Restitution shall be paid in full immediately.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that she is
unable to pay and is not likely to become able to pay any fine.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further
redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the sentencing
judge.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

Defendant informed of right to appeal.

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Bond is exonerated.

On the Government’s Motion, the Court orders Counts 1, 2, 3, 5, and 6 DISMISSED as to this defendant only.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            October 19, 2020
            Date                                                U. S. District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or
 other qualified officer.

                                                                Clerk, U.S. District Court



            October 19, 2020                              By
            Filed Date                                          Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                        While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    he defendant must report to the probation office in the federal               convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation             persons and organizations of specific risks posed by the defendant to
       of any contraband prohibited by law or the terms of supervision and           those persons and organizations and must permit the probation officer to
       observed in plain view by the probation officer;                              confirm the defendant’s compliance with such requirement and to make
 8.    The defendant must work at a lawful occupation unless excused by              such notifications;
       the probation officer for schooling, training, or other acceptable      15.   The defendant must follow the instructions of the probation officer to
       reasons and must notify the probation officer at least ten days               implement the orders of the court, afford adequate deterrence from
       before any change in employment or within 72 hours of an                      criminal conduct, protect the public from further crimes of the
       unanticipated change;                                                         defendant; and provide the defendant with needed educational or
                                                                                     vocational training, medical care, or other correctional treatment in the
                                                                                     most effective manner.




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             The defendant must also comply with the following special conditions (set forth below).

       STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL
 SANCTIONS

         The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or
 unless the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C.
 § 3612(f)(1). Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and
 penalties pertaining to restitution, however, are not applicable for offenses completed before April 24, 1996.

        If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the
 defendant must pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

        The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s
 mailing address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C.
 § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any
 material change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or
 restitution, as required by 18 U.S.C. § 3664(k). The Court may also accept such notification from the government or
 the victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or
 restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before
 the United
                          States is paid):
                             Non-federal victims (individual and corporate),
                             Providers of compensation to non-federal victims,
                             The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

        CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL
                                      SANCTIONS

        As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release
 authorizing credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure
 and (3) an accurate financial statement, with supporting documentation as to all assets, income and expenses of the
 defendant. In addition, the defendant must not apply for any loan or open any line of credit without prior approval of
 the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or
 other pecuniary proceeds must be deposited into this account, which must be used for payment of all personal expenses.
 Records of all other bank accounts, including any business accounts, must be disclosed to the Probation Officer upon
 request.




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                                                           RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                     to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and
    Commitment.
                                                           United States Marshal


                                                      By
            Date                                           Deputy Marshal



                                                       CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file
 in my office, and in my legal custody.
                                                           Clerk, U.S. District Court


                                                      By
            Filed Date                                     Deputy Clerk



                                        FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of
them.

         (Signed)
                Defendant                                              Date


                     U. S. Probation Officer/Designated Witness        Date




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